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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

CRISTALLA CONDOMINIUM
ASSOCIATION,

Plaintiff, NO. C16-1838RSL

V5,

ORDER OF DISMISSAL
AFFILIATED FM INSURANCE COMPANY,

Defendant.

 

 

It having been reported to the Court on Tuesday, January 16, 2018 that the above cause has been
settled, and no final order having yet been presented, NOW, THEREFORE,

IT IS ORDERED that this cause be and the same is hereby DISMISSED. This dismissal shall be
without prejudice to the right of any party upon good cause shown within sixty (60) days hereof to
reopen this cause if the reported settlement is not consummated.

The Clerk of the Court is instructed to send copies of this Order to all counsel of record.

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DATED this {7° day of Qu, . 2018.

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Robert S. Lasnik
United States District Judge

ORDER OF DISMISSAL

 
